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DIVISION, W.D of VA

 

IN THE UNITED STATES DISTRICT COURT .
FOR THE WESTERN DISTRICT OF VIRGINIA
DANVILLE DIVISION
UNITED STATES OF AMERICA
Vv. : Case No. 4:19CR00007

ANTHONY WAYNE EASTERLING, JR.:

AGREED STATEMENT OF FACTS

The events leading to Counts Two and Four of the Indictment occurred on January
19, 2019, in the City of Martinsville, in the Western District of Virginia. That evening,
Mr. Easterling was observed driving an SUV. Police then stopped him because of
outstanding arrest warrants. Mr. Easterling was alone in the vehicle at the time of the
stop. Because there was no one else in the vehicle to drive it away after Mr. Easterling’s
arrest, the vehicle had to be towed. This, in turn, required an inventory of the vehicle.
Inventorying, officers quickly discovered what appeared to be illegal narcotics in a box
on the front passenger seat of Mr. Easterling’s vehicle. Based on this discovery, officers
then obtained a search warrant for the vehicle.

Searching Mr. Easterling’s vehicle pursuant to the warrant, officers determined
that drugs on the front seat were in fact approximately 140 grams of methamphetamine
mixture, an amount consistent with distribution. These drugs were later sent to the lab
for analysis and determined to indeed be methamphetamine, more than 50 grams. Of

note, Mr. Easterling had approximately $3,200 in cash on his person.
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Behind the driver’s seat, officers discovered a 20 gauge shotgun. The shotgun was
a firearm, designed to expel a projectile by means of an explosion. It had moved in
interstate or foreign commerce. At the time of this stop, Mr. Easterling had already been
convicted of a crime punishable by more than one year of incarceration, and was aware
that he had been so convicted.

Mr. Easterling was advised of his Miranda rights, claimed the drugs, and admitted

that he had them to sell.

I agree that this is a correct statement of the facts that the United States would have
proved, had this matter gone to trial.

 

 

nthony Wayne Easterling
Defendaht

Randy-Cargill, Esq. Assistant United States Attorney
Counsel for Defendant

 
